             Case 23-875, Document 15, 06/20/2023, 3531520, Page1 of 15




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June 20, 2023 @ 06:56:17 PM


Catherine O'Hagan Wolfe
Clerk of Court
U.S.C.A Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

VIA CM/ECF

RE: Further Support of CA2 Jurisdiction, per doc #7 RE: Darryl C. Carter v.
Keechant L. Sewell et al., Appeal No: 23-875

Dear Chief Judge Livingston:

Please note the following with respect doc #7, the Clerk's Order, raising issues,
sua sponte, regarding the jurisdiction of this court. Appellant has responded via
doc #14, illustrating this court's jurisdiction. This correspondence and Exhibit
'A' incorporated hereto, as a true and correct paper as filed in the lower court,
further supports the jurisdiction of this court.

There can be no doubt as to the jurisdiction of this court. Notwithstanding the
same, in flagrant disobedience and defiance of this court's jurisdiction, the lower
court continues to act, ultra vires, pursuant an egregious cover up in the lower
court; let alone the defendants have defiled this court's integrity with its insider
relationships with members of the Clerk's Office and staff attorneys.

This court must affirm its supervisory authority over the lower court and reign
in this extremely abusive conduct whose aim is fraud upon the court, pursuant a
cover up. Unless and until this court exercises its plenary authority over the
lower court, this conduct can and will persist since, to date, no sanctions have
been issued against any defendant nor has any adverse action been taken
against defendants' conduct.



                         1734 Webster Avenue, Bronx, NY 10457
             Case 23-875, Document 15, 06/20/2023, 3531520, Page2 of 15




                                                                     Page 2 of 3
Sincerely,

/S/

Darryl C. Carter




                         1734 Webster Avenue, Bronx, NY 10457
             Case 23-875, Document 15,
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June 20, 2023 @ 04:53:46 PM


United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

VIA CM/ECF

RE: Appeal in Opposition Order Extending time Per, Doc #45: Darryl C.
Carter v. Keechant L. Sewell, Civil Action #: 1:23-cv-01139-JLR

Dear Judge Rochon:

Defendants James and Hochul request a bland request for an “Extension of
Time.” Counsel for defendant was not entirely forthcoming with my original
response to the request as proffered for defendant James? Additionally, counsel
Fang misrepresented the factual background on the matter. That request is
attached hereto, as Exhibit 'A,' which I incorporate by reference as a true and
correct copy of the email and written letter sent to counsel Fang. Thus,
collectively, this Exhibit 'A' attached hereto, in conjunction with counsel Fang's
Exhibit 'A' doc #44-1 represents my complete response to in full opposition to
any extension of time. Defendants are not entitled to any extension of time as
this matter is already on appeal, and counsel fang is deceitful and intentionally
misrepresented facts to obtain an Order from a magistrate judge that is already
in hot water per a judicial misconduct complaint, inter alia, doc #29




                         1734 Webster Avenue, Bronx, NY 10457
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                                                       06/20/23   of 152 of 12




                                                                      Page 2 of 5
Sincerely,


/S/
S|    A].COD
Darryl C. Carter




                         1734 Webster Avenue, Bronx, NY 10457
                       Response Request for Extension of Time: Carter v. Sewell et al., No. 23-cv-1139 (S.D.N.Y.)
                          Case 23-875, Document 15,
                    Case 1:23-cv-01139-JLR-RWL      06/20/2023,
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         Subject: Response Request for Extension of Time: Carter v. Sewell et al., No. 23-cv-1139 (S.D.N.Y.)
         From: "Darryl" <dcclawinfo@proton.me>
         Date: 6/16/2023, 1:35 PM
         To: "Fang, Linda" <Linda.Fang@ag.ny.gov>
         CC: "Darryl C. Carter" <dcclawinfo@proton.me>, "cartdary32@yahoo.com"
         <cartdary32@yahoo.com>


         Linda Fang,

         Please note the attached response to your request as set forth in the
         subject line above.

         Regards,
         Darryl

           A achments:

           carter-fang-decline-extension- me-061623.pdf                                                             1.4 MB




1 of 1                                                                                                              6/20/2023, 2:51 PM
               Case 23-875, Document 15,
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June 16, 2023   @   01:26:45 PM


Linda Fang
Special Litigation Counsel
New York State Office of the Attorney General
28 Liberty Street
New York, New York 10005
Phone: (212) 416-8580

VIA ELECTRONIC MAIL TRANSMISSION

RE: Second Request for Extension of ‘Time:              Darryl C. Carter v. Keechant L.
Sewell, Civil Action #: 1:23-cv-01139-JLR

Dear Ms. Fang:

Please note that I am in receipt of your attached email, to which I provide the
following in support of my objection to any such extension of time, similar as
the first with your predecessor request Mr. Riggs.

   1.   Defendant provided no specific basis for such an extension, and
        defendant's prior misconduct in the appeal court does not entitle           an
        extension of time in either coutt.

  2.    Plaintiff did not and does not consent to adjudication of any matter by the
        magistrate in this action, to which any such request would be directed.
        Furthermore, this issue is matter enumerated on appeal to which the
                                        a


        lower court has no jurisdiction.

  3.    Plaintiff has raised several issues with the perversion of his Constitutional
        rights in the lower court, which are ripe for Opinion by the higher coutt.
        Furtherance of the same Constitutional rights violations would prejudice
        plaintiff in the lower court.
  4.    Generally,   a   lower court has no jurisdiction once a notice of appeal is filed.


                               1734 Webster Avenue, Bronx,   NY 10457
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                                                                        Page 2
   5.   Additional required parties have not yet appeared in the action thus even
        if improperly entertained by a magistrate judge such would limit the
        court's ability to provide comprehensive relief.

   6.   This court has no jurisdiction to entertain your request excepting a motion
        in aid of jurisdiction of the U.S.C.A 2” circuit as per appeal no: 23-602.
        Furthermore, in said appeal, your client improperly and via misconduct
        obtain, at her request, removal from that appeal, which in part, has given
        rise to the current interlocutory appeal no: 23-875.



Sincerely,


  K)      28 ADS_
Darryl C. Carter
Encl: Lind Fang email one (page)




                           1734 Webster Avenue, Bronx,   NY 10457
                                                Carter v. Sewell et al., No. 23-cv-1139 (S.D.N.Y.)
                           Case 23-875, Document 15,
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       Subject: Carter v. Sewell et al., No. 23-cv-1139 (S.D.N.Y.)
       From: "Fang, Linda" <Linda.Fang@ag.ny.gov>
       Date: 6/16/2023, 1:00 PM
       To: "dcclawinfo@proton.me" <dcclawinfo@proton.me>

       Mr. Carter,

       I am an attorney and represent the Attorney General Letitia James in the above-referenced action you have commenced
       in the U.S. District Court for the Southern District of New York.

       I plan to seek from the Court an extension of the AG’s time to respond to the complaint from June 23 through August              6.
       I am requesting the extension because I have been recently assigned to the matter and need more time to review the
       allegations and to prepare a response.

       Could you kindly advise whether you      will consent to   the extension request, and   if not,   the reasons for your objection or
       non-consent? Thank you.

       Best,
       Linda

       Linda Fang
       Special Litigation Counsel
       New York State Office of the Attorney General
       28 Liberty Street
       New York, New York 10005
       (212) 416-8580



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       and delete the e-mail from your system.




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June 5, 2023   @   06:50:34 PM


Scali Riggs
Senior Counsel
New York City Law Department
Administrative Law and Regulatory Litigation
100 Church Street, Room 5-183
New York, NY 10007

VIA ELECTRONIC MAIL TRANSMISSION

RE: Request for Extension of Time:         Darryl C. Carter v. Keechant L. Sewell,
Civil Action #: 1:23-cv-01139-JLR
Dear Mr. Riggs:

Please note that [am in receipt of your attached email, to which I provide the
following in support of my objection to any such extension of time.
   1.   Counsel stated “I contacted you,” which is either false or you dialed the
        incorrect number, assuming you actually “Called” since you did not
        specifically state so. Perhaps it would be wise to not start off as your
        predecessor, with respect to misrepresentations, which in that case
        proffered to the court did not work out so well.

   2.   Defendant provided no specific basis for such an extension, and
        defendant's prior misconduct in the appeal court does not entitle      an
        extension of time in either court.

   3.   Plaintiff did not and does not consent to adjudication of any matter by the
        magistrate in this action, to which any such request would be directed.
        Furthermore, this issue is matter enumerated on appeal to which the
                                     a


        lower court has no jurisdiction.
  4.    Plaintiff has raised several issues with the perversion of his Constitutional
        rights in the lower court, which are ripe for Opinion by the higher coutt.


                            1734 Webster Avenue, Bronx,   NY 10457
              Case 23-875, Document 15,
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                                                                           Page 2of 2
        Furtherance of the same        Constitutional rights violations would prejudice
        plaintiff in the lower court.
   5.   Generally,   a   lower court has no jurisdiction once a notice of appeal is filed.

   6.   Additional required parties have not yet appeared in the action thus even
        if improperly entertained by a magistrate judge such would limit the
        court's ability to provide comprehensive relief.

As to my preferred method of contact, my number as outlined on the case is
accurate, as is the correct email. For future reference, I would highly suggest
contact via both voice and email.



Sincerely,


  4K)    a   @   OG         —


Darryl C. Carter
Encl: Scali Riggs email      one   (page)




                                1734 Webster Avenue, Bronx,   NY 10457
                                                        Carter v. Keechant Sewell, et al. 23-cv-01139
                           Case 23-875, Document 15,
                      Case 1:23-cv-01139-JLR-RWL     06/20/2023,
                                                  Document   47 3531520,   Page11Page
                                                                 Filed 06/20/23   of 159 of 12

       Subject: Carter v. Keechant Sewell, et al. 23-cv-01139
       From: "Riggs, Scali (Law)" <sriggs@law.nyc.gov>
       Date: 6/5/2023, 5:41 PM
       To: "dcclawinfo@proton.me" <dcclawinfo@proton.me>

       Good Evening Mr. Carter,

       lam an attorney with the New York City Law Department, and will be representing Police Commissioner Sewell in
                                                                                   |


       the above-referenced action. tried to reach you via the telephone number provided, but was not able to get
                                           |


       through. am writing to you because need to request an extension of time to respond to your complaint, and per
                  |                                     |


       the Court’s rules need to provide the Court with your position as to my request. intend to request a 60 day
                           |                                                                             |


       extension to August 6, 2023. Please let me know if you consent or object to my request so that may provide your   |


       position to the Court. Please also let me know your preferred method of contact. Thank you.

       Kind Regards,


       Scali Riggs Senior Counsel
                       |




       New York City Law Department Administrative Law and Regulatory Litigation
                                                    |




       100 Church Street, Room 5-183 New York, NY 10007
                                                |




       Tel: (212) 356-2197 Cell: (646) 951-6487 Email: sriggs@law.nyc.gov
                                 |                               |




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1of1                                                                                                                                    6/5/2023, 6:26   PM
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                                EXHIBIT 'A'
                       ( 8 pages including this page)
(Email and Letter Response to James, Hochul Request for an Extension of time)




                        1734 Webster Avenue, Bronx, NY 10457
            Case 23-875, Document 15,
      Case 1:23-cv-01139-JLR-RWL      06/20/2023,
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                                                                     Page 4 of 5
                    CERTIFICATE OF SERVICE

     I hereby certify that on date, June 20, 2023, I submitted the following

documents via CM/ECF and that the appearing defendant is a registered

CM/ECF user, in this case, within the United States District Court for the

SOUTHERN DISTRICT OF NEW YORK.


  1. APPEAL IN OPPOSITION ORDER EXTENDING TIME PER, DOC #45:
     DARRYL C. CARTER V. KEECHANT L. SEWELL, CIVIL ACTION #:
     1:23-CV-01139-JLR



Linda Fang
Special Litigation Counsel
New York State
Office of the Attorney General
28 Liberty Street
New York, New York 10005

Counsel for Defendants James, Hochul




                         1734 Webster Avenue, Bronx, NY 10457
            Case 23-875, Document 15,
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                                                                Page  12 of 12




                                                                      Page 5 of 5
Dated: June 20, 2023




                                             SK).
                                             /S/       COGs_
                                             ___________________________
                                             Darryl C. Carter
                                             1734 Webster Avenue
                                             Bronx, NY 10457
                                             Phone: (201) 781-5216
                                             Email: dcclawinfo@proton.me

                                             Attorney for Plaintiff




                         1734 Webster Avenue, Bronx, NY 10457
            Case 23-875, Document 15, 06/20/2023, 3531520, Page15 of 15




                                                                    Page 3 of 3
                          CERTIFICATE OF SERVICE

On date, June 20, 2023, I did submit the following document(s) with respect to
appeal no: 23-875

1) FURTHER SUPPORT OF CA2 JURISDICTION, PER DOC #7 RE: DARRYL
C. CARTER V. KEECHANT L. SEWELL ET AL., APPEAL NO: 23-875

☒by submitting the, herein referenced documents via the court's CM/ECF filing
system for subsequent CM/ECF notification to the defendants' counsel
appearing in this action.

Counsel for appellee Sewell Terminated on April 25, 2023.

Counsel for appellees Hochul, James Terminated on May 23, 2023.




                             /S/
                             ___________________________
                             Darryl C. Carter
                             1734 Webster Avenue
                             Bronx, NY 10457
                             Phone: (201) 781-5216
                             Email: dcclawinfo@proton.me

                             Attorney for the Plaintiff




                        1734 Webster Avenue, Bronx, NY 10457
